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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

 CRIMINAL ACTION NO. 16-34-DLB-CJS-1
 CIVIL ACTION NO. 18-137-DLB-CJS

 UNITED STATES OF AMERICA                                                         PLAINTIFF


 v.             ORDER ADOPTING REPORT AND RECOMMENDATION


 PEDRO HIGAREDA                                                                 DEFENDANT

                            * * * * * * * * * * * * * * * *

        I.     INTRODUCTION

        Defendant Pedro Higareda, proceeding pro se, has moved under 28 U.S.C. § 2255

 to vacate his conviction for methamphetamine distribution. (Doc. # 67). He argues that

 his counsel was ineffective for failing to challenge the veracity of affidavits supporting the

 search warrants issued in his case, which in turn affected the voluntariness of his guilty

 plea. Consistent with local practice, Magistrate Judge Candace J. Smith issued a Report

 and Recommendation (“R&R”), wherein she recommends that Higareda’s Motion be

 denied on the merits without an evidentiary hearing. (Doc. # 90). Higareda did not file

 objections to the R&R and instead moves to obtain discovery materials that would

 substantiate his ineffective-assistance claim. (Doc. # 97). That Motion has now been

 fully briefed. (See Docs. # 103 and 106). Because Higareda has forfeited his right to

 review of the R&R, and because his attorney was not ineffective for failing to challenge

 the issue of probable cause, the R&R is adopted as modified herein and Higareda’s




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 Motion to Vacate (Doc. # 67) is denied. Higareda’s Motion for Discovery (Doc. # 97) is

 also denied.

        II.     FACTUAL AND PROCEDURAL BACKGROUND

        In September 2016, Higareda was indicted on three counts relating to distribution

 of methamphetamine. (Doc. # 1). Attorney Kerry Neff, the third attorney appointed to

 represent Higareda, (see Docs. # 7, 27, and 42), negotiated a plea agreement on

 Higareda’s behalf. The agreement provided that Defendant would plead guilty to Count I

 of the Indictment, and in exchange, the United States would move to dismiss Counts II

 and III. (Doc. # 49 at 1). Higareda was convicted on Count I and sentenced to 240

 months in prison, followed by ten years of supervised release. (Doc. # 61 at 2-3).

 Higareda did not appeal.

        Higareda then filed a Motion to Vacate under 28 U.S.C. § 2255 as well as a

 supporting memorandum. (Docs. # 67 and 74). In his Motion, Higareda alleges that

 warrants to search and track his cell phone and to place a GPS tracking device on his

 vehicle were issued based on false information. (Docs. # 67 at 5 and 74 at 1-2). He

 therefore argues that his trial counsel acted deficiently for failing to challenge the issue of

 probable cause in a hearing under Franks v. Delaware, 438 U.S. 154 (1978). (Doc. # 74

 at 2-3). The Supreme Court in Franks held that “where the defendant makes a substantial

 preliminary showing that a false statement knowingly and intentionally, or with reckless

 disregard for the truth, was included by the affiant in the warrant affidavit, and if the

 allegedly false statement is necessary to the finding of probable cause, the Fourth

 Amendment requires that a hearing be held at the defendant’s request.” 438 U.S. at 155-

 56. Higareda maintains that had he been informed of certain evidence undermining the



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 truth of the warrant affidavits, he would have asked for a Franks hearing instead of

 pleading guilty. (Doc. # 74 at 9).

        The affidavit submitted as part of the first warrant application to track Higareda’s

 cell phone was signed by Agent Steve Kush and reads as follows:

                The Affiant states information was gained concerning an unknown
        Hispanic male that goes by the moniker of “Toro” from a cooperating
        witness. The cooperating witness stated “Toro” was engaged in criminal
        activity of trafficking methamphetamine. Cooperating witness stated he/she
        knows this to be true from prior transactions of trafficking methamphetamine
        with “Toro.” The cooperating witness stated he/she has been purchasing
        methamphetaimne [sic] from “Toro” on a weekly basis for several months.
        Cooperating witness states he/she coordinates the transaction by
        contacting “Toro” via phone at 859-552-8894. The cooperating witness was
        able to substantiate this information with the use of a controlled call from
        the cooperating witness to “Toro” at the phone number 859-552-8894.
        Agent Kush monitored the phone call and heard conversation from “Toro”
        that is consistent with drug trafficking.
                Based on the above, the Affiant believes “Toro” is conducting
        ongoing methamphetamine distribution and is using his cellular telephone
        with assigned number 859-552-8894 as an instrument to further this
        criminal activity. Said records from this cellular service provider will enable
        Agents to further investigate this organization and use of real time GPS or
        Ping Locations will assist in identifying co-conspirators and locations used
        as well as alerting law enforcement of any cross-country trips to re-supply.

 (Doc. # 84-1 at 2). Higareda takes issue with the agent’s statement that he “heard

 conversation from ‘Toro’ that is consistent with drug trafficking.” According to Higareda,

 the controlled call with the agent did not contain any statements that would suggest

 Higareda was engaged in drug trafficking. (Doc. # 74 at 4-5).

        The subsequent application for a warrant to place a GPS tracker on Higareda’s car

 was accompanied by the following affidavit, signed by Agent Gary Helton:

                In April of 2016 information was gained concerning an unknown
        Hispanic male that goes by the moniker of “Toro” from a cooperating
        witness. The cooperating witness stated “Toro” was engaged in criminal
        activity of trafficking methamphetamine. Cooperating witness stated he/she
        knows this to be true from prior transactions of trafficking methamphetamine


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        with “Toro.” The cooperating witness stated he/she has been purchasing
        methamphetamine from “Toro” on a weekly basis for several months.
        Cooperating witness states he/she would meet with Toro at several different
        locations in the Northern Kentucky Area. The cooperating witness stated
        that “Toro” would always drive a black Dodge Durango with tinted windows
        to the narcotics transactions.
               Acting on the information received, Affiant conducted the
        following independent investigation:
               The Affiant and members of the Northern Kentucky Drug Strike Force
        were able to use law enforcement databases to identify “Toro” as Pedro
        Higareda of Florence, Boone County Kentucky. The Affiant and members
        of the Northern Kentucky Drug Strike Force were able to identify Pedro
        Higareda's address as 8475 Partridge Dr. in Florence, Boone County,
        Kentucky. The Affiant was able to conduct surveillance on Pedro Higareda’s
        residence and observed a 2006 Dodge Durango black in color with
        Kentucky Registration 063-VDG in the driveway of the residence with tinted
        windows.
               The Affiant checked police databases and found the [sic] Pedro
        Higareda was issued a citation on 12/14/2015 while driving the black 2006
        Dodge Durango in Boone County Kentucky.
               The Affiant also conducted several controlled phone calls with Pedro
        Higareda and the cooperating witness during this investigation. On several
        occasions Pedro Higareda confirmed he was part of a narcotics trafficking
        organization, and would deliver crystal methamphetamine to the
        cooperating witness at any locations the cooperating witness picked.
               On April 14, 2016 Agent Kush with the Northern Kentucky Drug
        Strike Force contacted the Lexington Police Division Gang Unit and spoke
        with Detective Todd Phillips in reference to this investigation. Agent Kush
        was advised that Pedro Higareda is a known high ranking member of the
        Surenos Street Gang criminal organization. Detective Phillips advised the
        Lexington Police Division’s Homicide Unit is currently investigating a
        homicide that Pedro Higareda may have some connection with.

 (Doc. # 84-2 at 2). With respect to this affidavit, Higareda claims that there was only one

 controlled phone call, not “several.” (Doc. # 74 at 7). Also, as with the previous affidavit,

 Higareda maintains that the controlled call that occurred did not contain evidence of drug

 trafficking. (Id.).

        The Magistrate Judge rejected Higareda’s ineffective-assistance argument on the

 merits. (Doc. # 90). In the Magistrate Judge’s view, Higareda’s conclusory assertions

 did not establish his entitlement to a Franks hearing, which is warranted only upon a


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 “substantial preliminary showing” that the affiant intentionally or recklessly made a false

 statement. (Id. at 6-9) (quoting United States v. Young, 847 F.3d 328, 348 (6th Cir.

 2017)). Therefore, according to the Magistrate Judge, “Higareda’s counsel reasonably

 could have concluded” that there was insufficient evidence to meet the threshold for a

 Franks hearing “and was not ineffective for failing to request a Franks hearing or move to

 suppress evidence seized . . . .” (Id. at 7-8) (internal quotation marks omitted). The

 Magistrate Judge also recommended denying an evidentiary hearing because the record

 “conclusively shows that [Higareda] is not entitled to the relief he seeks.” (Id. at 9).

        Shortly after the R&R was entered on January 22, 2020, Higareda filed a motion

 requesting a transcript of the controlled call that was alluded to in the warrant affidavits.

 (Doc. # 92). Higareda, within the same motion, also asked for an extension of time to file

 objections to the R&R. (Id.). The Court denied Higareda’s request for the transcript but

 granted his motion for extension of time, giving Higareda until February 27, 2020 to file

 objections. (Doc. # 96). Rather than file any objections, however, Higareda filed a

 renewed Motion for Discovery, again requesting the transcript of the controlled call, which

 he claims is in the Government’s possession. (Doc. # 97 at 1). Higareda attached an

 evidence log obtained from his trial attorney purportedly showing the existence of a

 transcript from a controlled call dated March 31, 2016. (Doc. # 97-1). The Government

 opposes Higareda’s motion, arguing that Higareda has failed to demonstrate “good

 cause” as required to obtain discovery in a § 2255 case. (Doc. # 103 at 1). See Rule 6

 of the Rules Governing Section 2255 Proceedings. Higareda filed a reply brief. (Doc. #

 106). The Magistrate Judge’s R&R (Doc. # 90) and Higareda’s Motion for Discovery (Doc.

 # 97) are now ripe for the Court’s review.



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        III.   ANALYSIS

        Higareda’s Motion to Vacate fails for multiple reasons. First, Higareda did not

 object to the Magistrate Judge’s R&R, choosing instead to renew his previously

 unsuccessful motion for discovery materials. A party who fails to file an objection to the

 magistrate judge’s R&R forfeits further review of his claims by the district court, “[a]s long

 as [the] party was properly informed of the consequences of failing to object.” Miller v.

 Currie, 50 F.3d 373, 380 (6th Cir. 1995). Here, the R&R notified Higareda of his right to

 object within fourteen days and warned that “[f]ailure to make a timely objection . . . may,

 and normally will, result in waiver of further appeal to or review by the District Judge and

 Sixth Circuit Court of Appeals.” (Doc. # 90 at 11). Higareda’s failure to object thus

 provides a basis to adopt the Magistrate Judge’s recommendation that Higareda’s Motion

 be denied.

        Forfeiture aside, Higareda’s Motion is meritless because his attorney was not

 ineffective for failing to request a Franks hearing. A defendant is entitled to a Franks

 hearing only if the challenged statements in the warrant affidavit were necessary to a

 finding of probable cause. Franks, 438 U.S. at 155-56. Here, the affidavits in question,

 when viewed in the totality of the circumstances, established probable cause without the

 assertedly false description of the controlled calls. Higareda’s trial counsel accordingly

 acted reasonably by not moving for a Franks hearing.

        The first warrant affidavit contained detailed information provided by a known

 informant linking Higareda’s phone to drug trafficking. According to the affidavit, the

 informant stated that an individual who goes by “Toro” was dealing methamphetamine.

 (Doc. # 84-1 at 2). The informant stated that “he/she knows this to be true from prior



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 transactions of trafficking methamphetamine with ‘Toro,’” and further, that “he/she has

 been purchasing methamphetaimne [sic] from ‘Toro’ on a weekly basis for several

 months.” (Id.). The informant also provided a phone number that he/she had called to

 purchase methamphetamine from “Toro” in the past. (Id.). Although Higareda denies

 that he made incriminating statements on the controlled call, he does not deny that the

 phone number used for the controlled call was his or that the call identified “Toro” as the

 person answering.

        This information was sufficient to establish probable cause that Higareda’s phone

 contained evidence of drug trafficking. It is well established that a magistrate may issue

 a warrant based upon “reliable hearsay information” in an officer’s affidavit. United States

 v. West, 520 F.3d 604, 609 (6th Cir. 2008); accord United States v. Dyer, 580 F.3d 386,

 390 (6th Cir. 2009). The affidavit in this case contained sufficient indicia of the informant’s

 reliability. In describing the purchase of methamphetamine from “Toro,” the informant

 admitted to engaging in illegal activity. Such a statement against penal interest “bears

 intrinsic evidence of credibility.” United States v. Czuprynski, 46 F.3d 560, 564 (6th Cir.

 1995) (en banc). Moreover, the informant was known to the agent who authored the

 affidavit, and the agent monitored the informant during the controlled call with “Toro.”

 (See Doc. # 84-1 at 2). “The statements of an informant, whose identity was known to

 the police and who would be subject to prosecution for making a false report, are thus

 entitled to far greater weight than those of an anonymous source.” Dyer, 580 F.3d at 391

 (internal ellipsis omitted) (quoting United States v. May, 399 F.3d 817, 824-25 (6th Cir.

 2005)). This substantial evidence of the informant’s reliability eliminated the need for

 substantial police corroboration. Id. at 392. In any case, the agent here was able to



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 corroborate several of the details given by the informant, including that the phone number

 provided belonged to an individual who went by “Toro.”              Finally, the informant’s

 identification of the particular phone previously associated with drug trafficking

 established “the ‘necessary nexus between the place to be searched and the evidence

 sought.’” Id. at 391 (quoting United States v. Higgins, 557 F.3d 381, 390 (6th Cir. 2009)).

        The second affidavit provided an even stronger basis for a finding of probable

 cause and was likewise sufficient absent the evidence of Higareda’s allegedly

 incriminating statements on the controlled calls. In addition to including the factual details

 provided by the informant in the first affidavit, the second affidavit noted that, according

 to the informant, “‘Toro’ would always drive a black Dodge Durango with tinted windows

 to the narcotics transactions.”    (Doc. # 84-2 at 2).     By consulting law enforcement

 databases, the agent was able to determine that “Toro” was in fact Pedro Higareda, who

 lived at 8475 Partridge Dr. in Florence, Kentucky. (Id.). The agent observed the vehicle

 matching the informant’s description in the driveway of Higareda’s residence. (Id.). In

 addition, the license plate of the vehicle was linked to a traffic citation issued to Higareda

 five months earlier. (Id.). Finally, Lexington police informed the affiant that Higareda was

 a member of the Surenos Street Gang, a known criminal organization. (Id.). This

 evidence was plainly sufficient to support a warrant for a GPS tracker on Higareda’s car.

        Because the challenged statements in the affidavit were not necessary to a

 showing of probable cause, Higareda’s attorney cannot have been ineffective for failing

 to request a Franks hearing. See Tackett v. Trierweiler, 956 F.3d 358, 375 (6th Cir. 2020)




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 (“The failure to raise a meritless claim does not constitute ineffective assistance of

 counsel.”). Higareda’s Motion to Vacate therefore fails for this reason as well.1

        As with his Motion to Vacate, Higareda’s Motion for Discovery of the controlled call

 transcript falls short. “Habeas petitioners have no right to automatic discovery,” Stanford

 v. Parker, 266 F.3d 442, 460 (6th Cir. 2001), and Rule 6 of the Rules Governing Section

 2255 Proceedings allows discovery only upon the movant’s showing of “good cause.”

 Higareda has not made such a showing. As an initial matter, Higareda’s discovery

 demand is untimely, having come after the issuance of the R&R.              “[A] request for

 discovery under Habeas Rule 6, made after the case has been submitted for decision on

 the merits . . . is too late.” Hawkins v. Shoop, No. 3:19-cv-072, 2020 WL 1163824, at *5

 (S.D. Ohio Mar. 11, 2020); see also United States v. Hickman, 96 F. App’x 605, 610 (10th

 Cir. 2004); Morgan v. United States, No. C18-374, 2019 WL 366209, at *11 (W.D. Wash.

 Jan. 30, 2019); Mathis v. United States, Nos. 12-cr-457, 16-cv-487, 2018 WL 9617252,

 at *1 (M.D. Fla. Sept. 11, 2018). Higareda’s request for discovery is therefore denied as

 untimely.

        Moreover, Higareda’s Motion for Discovery fails for much the same reason as his

 Motion to Vacate fails on the merits. Without a showing that the content of the controlled

 call was necessary to demonstrate probable cause, the transcript of that call will not assist

 Higareda in succeeding on his ineffective-assistance-of-counsel claim. This is fatal to a

 showing of good cause under Rule 6, which requires that the discovery request “could

 yield evidence enabling [the prisoner] to prevail on any of his claims.” Williams v. Bagley,




 1      As Higareda’s Motion to Vacate is denied, his Motion for Release from Custody pending
 the outcome of his § 2255 Motion (Doc. # 110) is denied as moot.

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380 F.3d 932, 977 (6th Cir. 2004). Therefore, Higareda’s Motion for Discovery is denied

on this basis as well.

       IV.    CONCLUSION

       Accordingly, IT IS ORDERED as follows:

       (1)    The Report and Recommendation of the United States Magistrate Judge

(Doc. # 90) is ADOPTED as the findings of fact and conclusions of law of the Court as

modified herein;

       (2)    Defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to

28 U.S.C. § 2255 (Doc. # 67) is DENIED;

       (3)    Defendant’s Motion for Discovery (Doc. # 97) is DENIED;

       (4)    Defendant’s Motion for Release from Custody pending adjudication of his

§ 2255 Motion (Doc. # 110) is DENIED;

       (5)    This matter is DISMISSED with prejudice and STRICKEN from the Court’s

active docket;

       (6)    For the reasons set forth herein and in the Magistrate Judge’s R&R (Doc. #

90), the Court determines that there would be no arguable merit for an appeal in this

matter and, therefore, NO CERTIFICATE OF APPEALABILITY SHALL ISSUE; and

       (7)    A separate Judgment will be filed herewith.

       This 31st day of December, 2020.




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